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Attorneys for Defendants David Lawrence,

Eric Laning, and Safety and Ecology Corporation

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

PAUL C. BACHEMIN, KATHERINE C. _ :
THACKER, and JAASON M. WATSON, : Cask NO.

Plaintiffs,

~VS- : ELECTRONICALLY FILED

DAVID LAWRENCE, ERIC LANING,
and SAFETY AND ECOLOGY
CORPORATION,

Defendants.

 

F.R.C.P. 7.1 STATEMENT
Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, the undersigned
counsel of record for Defendants, David Lawrence, Eric Laning and Safety and Ecology
Corporation (“SEC”), hereby states that SEC is a Nevada corporation which is wholly
owned by Safety & Ecology Holdings Corporation. Safety & Ecology Holdings
Corporation is wholly owned by Homeland Security Capital Corporation (“HSCC”).
More than 10% of HSCC is publicly owned.

NORRIS, McLAUGHLIN & MARCUS, P.A.
Attorneys for Defendants

By:__s/ Patrick T. Collins

Dated: October 7, 2011
